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CLERK US DISTRICT COURT

 

 

BY. DISTRICT OF NEVADA
SSE DEPUTY |

UNITED STATES DISTRICT COURT

 

 

 

 

 

 

 

 

 

DISTRICT OF NEVADA
John Finken and Karen Finken, et al. Case #2:18-cv-00298
)
) VERIFIED PETITION FOR
Plaintiff(s), ) PERMISSION TO PRACTICE
) IN THIS CASE ONLY BY
vs. ) ATTORNEY NOT ADMITTED
Keller Williams Realty, Inc., a Texas AND Be OAR On oR
corporation, ) LOCAL COUNSEL
)
Defendant(s). )
) FILING FEE IS $250.00
Steven Woodrow , Petitioner, respectfully represents to the Court:
(name of petitioner)
I, That Petitioner is an attorney at law and a member of the law firm of
Woodrow & Peluso, LLC
(firm name)
with offices at 3900 E. Mexico Ave., Suite 300 .
(street address)
Denver , Colorado ; 80210
(city) (state) (zip code)
720-213-0675 , swoodrow@woodrowpeluso.com
(area code + telephone number) (Email address)
2. That Petitioner has been retained personally or as a member of the law firm by
John Finken and Karen Finken to provide legal representation in connection with
[client(s)]
the above-entitled case now pending before this Court.
Rev. 5/16

 

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3. That since S/11/2011 , Petitioner has been and presently is a
(date)
member in good standing of the bar of the highest Court of the State of Colorado |

(state)
where Petitioner regularly practices law. Petitioner shall attach a certificate from the state bar or

"from the clerk of the supreme court or highest admitting court of each state, territory, or insular

possession of the United States in which the applicant has been admitted to practice law certifying
the applicant's membership therein is in good standing.

4. That Petitioner was admitted to practice before the following United States District
Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts
of other States on the dates indicated for each, and that Petitioner is presently a member in good

standing of the bars of said Courts.

 

 

 

 

 

 

 

 

Court Date Admitted Bar Number
See attached Addendum A
5. That there are or have been no disciplinary proceedings instituted against petitioner,

nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory
or administrative body, or any resignation or termination in order to avoid disciplinary or

disbarment proceedings, except as described in detail below:

 

 

None.

 

 

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6. That Petitioner has never been denied admission to the State Bar of Nevada. (Give
particulars if ever denied admission):
None.
7. | That Petitioner is a member of good standing in the following Bar Associations.
Colorado Bar Association
8. Petitioner has filed application(s) to appear as counsel under Local Rule JA 11-2
(formerly LR IA 10-2) during the past three (3) years in the following matters: (State “none" if no applications.)
Date of Application Cause Title of Court Was Application
Administrative Body Granted or
or Arbitrator Denied
11/22/2017 2:17-cv-02600 USDC - Dist. of Nevada Granted
Denied
Denied
Denied
Denied

 

 

(If necessary, please attach a statement of additional applications)
9. Petitioner consents to the jurisdiction of the courts and disciplinary boards of the
State of Nevada with respect to the law of this state governing the conduct of attorneys to the same
extent as a member of the State Bar of Nevada.
10. _ Petitioner agrees to comply with the standards of professional conduct required of
the members of the bar of this court.
11. Petitioner has disclosed in writing to the client that the applicant is not admitted to

practice in this jurisdiction and that the client has consented to such representation.

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That Petitioner respectfully prays that Petitioner be admitted to practice before this Court

FOR THE PURPOSES OF THIS CASE ONLY. |
BA Ue Cu

“Petitioners signature
STATE OF Colorado 9
|)
COUNTY OF Dowwert i)

eta, L, \ordiew , Petitioner, being first duly sworn, deposes and says:

That the foregoing statements are true. Se
~ { Aaa) fm

an \_betitioner’s signature
Subscribed and sworn to before me this

2\s* day of Februany , YOLE

 

 

LAURA R. MONTES
NOTARY PUBLIC
STATE OF COLORADO
NOTARY ID 20164006991
COMMISSION EXPIRES FEB, 22, 2020

   
 

 

Nétary Public or Clerk of Cott”

 

   

DESIGNATION OF RESIDENT ATTORNEY ADMITTED TO
THE BAR OF THIS COURT AND CONSENT THERETO.

Pursuant to the requirements of the Local Rules of Practice for this Court, the Petitioner
believes it to be in the best interests of the client(s) to designate Marc P. Cook

(name of local counsel)
Attorney at Law, member of the State of Nevada and previously admitted to practice before the

>

 

above-entitled Court as associate resident counsel in this action. The address and email address of

said designated Nevada counsel is:

517 S. 9th Street

 

 

 

 

(street address)
Las Vegas , Nevada “A, 89101,
(city) (state) (zip code)
702-737-7702 ; mcook@bckltd.com
(area code + telephone number) (Email address)
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By this designation the petitioner and undersigned party(ies) agree that this designation constitutes
agreement and authorization for the designated resident admitted counsel to sign stipulations

binding on all of us.

APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL

The undersigned party(ies) appoint(s) Marc P. Cook as

(name of local counsel)
his/her/their Designated Resident Nevada Counsel in this case.

Ton Finken

(party's signature)

John Finken, Plaintiff
(type or print party name, title)

aren FinkKen

(party's signature)

 

 

Karen Finken, Plaintiff
(type or print party name, title)

CONSENT OF DESIGNE
The undersigned hereby consents to | agSofiate t, i counsel in this case.

Ce PPM Counsel’s signature

4574 mcook@bckltd.com
Bar number '/ Email address

APPROVED:
Dated: this day of ,20-

UNITED STATES DISTRICT JUDGE

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ADDENDUM A TO WOODROW PRO HAC VICE APPLICATION

Steven L. Woodrow and has been admitted to the following Courts. Mr. Woodrow
is active and in good standing in all such Courts.

Title of Court Date of Admission
Supreme Court of Illinois (Bar # 6286718) 11/10/2005

U.S. Court of Appeals for the Seventh Circuit 3/28/2011

U.S. Court of Appeals for the Ninth Circuit 9/19/2012

US. District Court for the District of Colorado 9/7/2011

US. District Court for the Northern District of Illinois 1/12/2006

US. District Court for the Eastern District of Michigan 6/30/2010

USS. District Court for the Western District of Michigan 4/8/2013

US. District Court for the District of New Mexico 6/20/2016

US. District Court for the Western District of Wisconsin 6/15/2016

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STATE OF COLORADO, ss:

!, Cheryl Stevens_____ Clerk of the Supreme Court of the State of
Colorado, do hereby certify that

Steven_L. Woodrow

has been duly licensed and admitted to practice as an

ATTORNEY AND (OUNSELOR AT LAW

within this State; and that his/her name appears upon the Roll of Attorneys
and Counselors at Law in my office of date the 1"

day of ___ May A.D. 2011 _ and that at the date hereof
the said Steven L. Woodrow

is in good standing at this Bar.

IN WITNESS WHEREOF, I have hereunto subscribed my name and
affixed the Seal of said Supreme Court, at Denver, in said State, this

 

 

 

 

12" of February __ 4, p__2018
Cheryl Stevens
Clerk
By Sn Lov
Coo N Deputy Clerk

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Certificate of Admission
To the Bar of Illinois

|, Carolyn Taft Grosboll, Clerk of the Supreme Court of Illinois, do hereby certify that
Steven Lezell Woodrow

has been duly licensed and admitted to practice as an Attorney and Counselor at
Law within this State; has duly taken the required oath to support the
CONSTITUTION OF THE UNITED STATES and of the STATE OF ILLINOIS, and
also the oath of office prescribed by law, that said name was entered upon the Roll
of Attorneys and Counselors in my office on 11/10/2005 and is in good standing, so
far as the records of this office disclose.

IN WITNESS WHEREOF, | have hereunto
subscribed my name and affixed the
seal of said Court, this 28th day of
February, 2018.

Cavey Tay Csboee

Clerk,
Supreme Court of the State of Illinois

 

 
